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     Attorney for Defendant
5    ANGELA SHAVLOVSKY

6

7                          IN THE UNITED STATES DISTRICT COURT

8                         FOR THE EASTERN DISTRICT OF CALIFORNIA

9

10   UNITED STATES OF AMERICA,               )   2:11-CR-00427 TLN
                                             )
11                              Plaintiff,   )   STIPULATION AND ORDER
                                             )   TO CONTINUE SENTENCING AND MODIFY
12   v.                                      )   SCHEDULE OF DISCLOSURE
                                             )
13                                           )
     ANGELA SHAVLOVSKY,                      )
14                                           )
                             Defendant.      )
15   __________________________________      )

16
                                         STIPULATION
17
           Plaintiff, United States of America, by and through its counsel,
18
     Assistant United States Attorney Jared Dolan, and defendant, Angela
19
     Shavlovsky, by and through her counsel, Erin J. Radekin, agree and stipulate
20
     to vacate the date set for judgment and sentencing, May 25, 2017 at 9:30
21
     a.m., in the above-captioned matter, and to continue the judgment and
22
     sentencing to June 15, 2017 at 9:30 a.m. in the courtroom of the Honorable
23
     Troy L. Nunley.
24
           In addition, the parties stipulate to the following modification to the
25
     schedule of disclosure relating to the pre-sentence report (“PSR”):
26
           Motion for correction of PSR          June 1, 2017
27
           Government’s reply                    June 8, 2017
28



                                     Stipulation and Order - 1
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1          The final PSR was filed on May 9, 2017 and Ms. Radekin has provided a

2    copy to Ms. Shavlovsky.   Ms. Radekin intends to file a motion to correct the

3    PSR; however, she needs additional time to prepare the motion and to allow

4    Ms. Shavlovsky time to review the proposed motion and to discuss and make any

5    proposed modifications to the PSR.   This case involves multiple disputed

6    sentencing issues and voluminous discovery, hence, fact checking and

7    preparation of the motion to correcte more time consuming than in the average

8    federal case.   The Court is advised Mr. Dolan has no opposition to the

9    proposed dates set forth above, and Mr. Dolan has authorized Ms. Radekin to

10   sign this stipulation on his behalf.

11         Accordingly, the parties respectfully request the Court adopt this

12   proposed stipulation.

13   IT IS SO STIPULATED

14   Dated: May 16, 2017                            PHILLIP A. TALBERT
                                                    United States Attorney
15
                                            By:      /s/ Jared Dolan
16                                                  Jared Chase Dolan
                                                    Assistant United States Attorney
17

18   Dated: May 16, 2017                             /s/ Erin J. Radekin
                                                    ERIN J. RADEKIN
19                                                  Attorney for Defendant
                                                    ANGELA SHAVLOVKSY
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21
                                            ORDER
22
           For the reasons set forth in the accompanying stipulation, the date set
23
     for judgment and sentencing, May 25, 2017 at 9:30 a.m. is VACATED and the
24
     above-captioned matter is set for June 15, 2017 at 9:30 a.m. in the courtroom
25
     of the Honorable Troy L. Nunley.
26
           It is FURTHER ORDERED that the schedule of disclosure be modified as
27
     follows:
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                                   Stipulation and Order - 2
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1          Motion for correction of PSR        June 1, 2017

2          Government’s reply                  June 8, 2017

3    IT IS SO ORDERED.

4    Dated: May 17, 2017

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7
                                          Troy L. Nunley
                                          United States District Judge
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                                  Stipulation and Order - 3
